
692 S.E.2d 391 (2010)
STATE of North Carolina
v.
Jihad Rashid MELVIN.
No. 382PA09.
Supreme Court of North Carolina.
January 28, 2010.
Norma S. Harrell, Special Deputy Attorney General, for State of North Carolina.
Daniel R. Pollitt, Assistant Appellate Defender, for Jihad Rashid Melvin.
Prior report: ___ N.C.App. ___, 682 S.E.2d 238.

ORDER
Upon consideration of the petition filed by State of NC on the 17th of September 2009 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 28th of January 2010."
Upon consideration of the petition filed on the 17th of September 2009 by State of NC in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 28th of January 2010."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
